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United States District Court
Eastern District of Michigan
Southern Division

United States of America, | Case No. 19-cr-20726

Honorable Paul D. Borman

Vv.
Offenses:
D-3 Gary Jones, Count One: Conspiracy to Embezzle
Union Funds & Use a Facility of
Defendant. Interstate Commerce to Aid

Racketeering (18 U.S.C. § 371).
Count Two: Conspiracy to Defraud
the United States (18 U.S.C. § 371).

Maximum Imprisonment:
Count One: 5 years;
Count Two: 5 years.

Maximum Fine:
Count One: $250,000;
- CountTwo: — $250,000.

Maximum Supervised Release:
Count One: 3 years;
~. Count Two: 3 years.

 

Rule 11 Plea Agreement

 

 
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Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant
Gary Jones and the government agree as follows:

OL Guilty Plea

A. Counts of Conviction

Defendant Gary Jones will enter a plea of guilty to Count One and Count
Two of the Second Superseding Information.

Count One of the Second Superseding Information charges conspiracy to
embezzle union funds and to use a facility of interstate commerce to aid
racketeering activity, in violation of 18 U.S.C. § 371. _

Count Two of the Second Superseding Information charges conspiracy to
defraud the United States, in violation of 18 U.S.C. § 371.

7 Elements of the Offenses

The elements of conspiracy to embezzle union funds and to use a facility of
interstate commerce to aid racketeering activity, as charged in Count One of the
Second Superseding Information, are as follows:

(1) Two or more persons conspired to violate the Labor-Management
Reporting and Disclosure Act in violation of 29 U.S.C. § 501(c) to embezzle union
funds and to violate 18 U.S.C. § 1952(a)(3) to use a facility of interstate commerce
to aid racketeering activity.

(2) The defendant knowingly and voluntarily joined the conspiracy.

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(3) Amember of the conspiracy did one of the overt acts described in the
Second Superseding Information for the purpose of advancing or helping the
conspiracy.

The elements of a violation of 29 U.S.C. § 501(c), embezzlement of union
funds, are as follows:

(1) The United Auto Workers union was a labor organization within the
meaning of 29 U.S.C. §§ 402(4) and (j).

(2) The defendant was either an officer of the United Auto Workers union or
was directly or indirectly employed by the United Auto Workers union during the
period when the offense occurred.

(3) The actions of the defendant constituted embezzlement, stealing, or
unlawful and willful abstraction or conversion to his own use or the use of another.
(4) The assets taken during the offense were moneys, funds, secutities,

properties, or other assets of the United Auto Workers union.

The elements of a violation of 18 U.S.C. § 1952(a)(3), use of a facility of
interstate commerce to aid racketeering activity, are as follows:

(1) The defendant used a facility of interstate commerce.

(2) The defendant did so with the intent to promote.an unlawful activity.

(3) The defendant thereafter performed or attempted to perform or facilitated

the performance of the unlawful activity.

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The elements of conspiracy to defraud the United States, as charged in Count —
Two of the Second Superseding Information, are as follows:

(1) Two or more persons conspired to defraud the United States by
concealing their income, evading the payment of taxes, and causing false Internal
Revenue Service Form 990s and 1040s to be filed.

(2) The defendant knowingly and voluntarily joined the conspiracy.

(3) Amember of the conspiracy did one of the overt acts described in the
Second Superseding Information for the purpose of advancing or helping the
conspiracy.

B. Factual Basis for Guilty Pleas

The following facts are a sufficient and accurate basis for defendant Gary
Jones’ guilty plea to Count One:

Relevant Organizations and Individuals

1. The International Union, United Automobile, Aerospace, and Agricultural
| Implement Workers of America (referred to herein as “UAW?” or as “United Auto
Workers”) was a labor organization engaged in an industry affecting commerce
within the meaning of Sections 402(i) and 402(j) of Title 29, United States Code.
The UAW represented hundreds of thousands of non-managerial employees

employed by automobile manufacturers and other employers at numerous locations

 
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in Michigan and across the United States. The UAW was headquartered in Detroit,
Michigan. |

2. The UAW Region 5 Midwest States Community Action Program (CAP)
Council “UAW Midwest CAP”), the UAW Midwest CAP’s predecessor entities,
_ and the UAW Region 5 Southwestern States CAP Council (“UAW Southwest
CAP”) were labor organizations engaged in an industry affecting commerce within
the meaning of Sections 402(i) and 402(j) of Title 29, United States Code.

3. The UAW Midwest CAP, its predecessor entities, and the UAW Southwest _
CAP are some of the UAW’s many Community Action Program Councils funded
through “per-capita” tax payments derived from member dues. CAP councils
existed as labor organizations subordinate to the UAW and were governed by the
UAW Constitution and its bylaws. The UAW Southwest CAP was based in Dallas,
Texas; while the UAW Midwest CAP was located at the UAW Region 5’s
headquarters in Hazelwood, Missouri. UAW Region 5 was an internal subdivision
of the United Auto Workers union.

4. From at least 2010 through September 2012, Gary Jones was the Assistant
Director of UAW Region 5. From September 2012 through June 2018, Gary Jones
was the Director of UAW Region 5, From June 2018 through at least September

2019, Gary Jones was the President of the UAW. As such, Gary Jones was an |

 
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officer, within the meaning of Sections 402(n) of Title 29, United States Code, and
was responsible for overseeing the operations of this UAW entity and the UAW.

5. At the times set forth in the Second Superseding Information, Edward N.
Robinson, UAW Official B, UAW Official C, UAW Official D, UAW Official E, .
and Vance Pearson served as either an officer or direct employee of the United
Auto Workers.

The Conspiracy to Embezzle UAW Funds

6. From at least in. or about 2010 and continuing through in or about
September 2019, both dates being approximate, in the Eastern District of Michigan,
Southern Division, and elsewhere, the defendant, Gary Jones, Edward N.
Robinson, Vance Pearson, UAW Official B, UAW Official C, Union Official D,
and UAW Official E did unlawfully, knowingly, and willfully combine, conspire,
confederate, and agree with each other and with other individuals, both known and
unknown, to embezzle union funds.

7. During the course of the conspiracy, while Gary Jones, Edward N.
Robinson, Vance Pearson, Union Official B, UAW Official C, Union Official D,
and UAW Official E, were officers of the United Auto Workers or were employed
directly by the United Auto Workers, they did embezzle, steal, and unlawfully and
willfully abstract and convert to their own use more than $1 million of the moneys,

funds, property, and other assets of the United Auto Workers.

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8. While officers or employees of the United Auto Workers, Gary Jones,
UAW Official B, UAW Official C, UAW Official D, UAW Official E, Vance
Pearson, and Edward N. Robinson were involved in a multifaceted scheme to
- embezzle funds from the UAW. One facet of the scheme involved fraudulently

obtaining hundreds of thousands of dollars of UAW funds from the UAW
headquarters, the UAW Southwest CAP, and the UAW Midwest CAP. Much of |
“this money was obtained through the submission of vouchers that claimed the
payments were for legitimate expenses for UAW Region 5 conferences. In reality,
the vouchers concealed the true destination of the funds and the true purpose of the
expenses, which was for the personal benefit of select senior UAW officials.
Another facet involved a scheme to fraudulently divert hundreds of thousands of
dollars union funds from the UAW Midwest CAP or its predecessor entities, a
significant portion of which was converted to cash, and which was.then used by
conspirators for personal expenses.
9. While officers or employees of the United Auto Workers, Gary Jones,
UAW Official B, UAW Official C, Vance Pearson, and Edward N. Robinson
established “Master Account” arrangements with various hotels across the United _
States. Ostensibly, these hotels contracted to facilitate various union conferences
and meetings related to UAW Region 5. However, the Master Accounts were used

to divert hundreds of thousands of dollars of UAW funds for the personal benefit of

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select senior UAW officials, including Gary Jones, UAW Official B, VAW
Official C, UAW Official D, UAW Official E, Vance Pearson, and Edward N.
Robinson. These Master Accounts were funded, in part, by transfer from the UAW
Headquarters based on fraudulent vouchers submitted by senior UAW officials,
which misrepresented the destination and purpose of the expenses. Although the
vouchers represented the payments were to the hotel for legitimate conference
expenses, significant portions of the funds were forwarded through the Master
Account to outside vendors for personal expenses including cigars, private villas,
high-end liquor and meal expenses, golfing apparel, golf clubs, and green fees. If
funds from the UAW’s headquarters were exhausted or additional funds were
needed, checks were issued from the UAW Midwest CAP and the UAW Southwest
CAP to satisfy debts incurred by senior UAW officials for illegitimate and personal
expenses. This portion of the fraud resulted in the unauthorized or improper
disbursement of hundreds of thousands of dollars of UAW funds.

10. In approximately 2010, UAW Official B directed Gary Jones, UAW
Official E, and others to use the Master Account arrangement with hotels, which
were hosting UAW conferences, in order to facilitate and conceal the use of UAW
funds for personal purposes.

11. While an officer of the United Auto Workers, Edward N. Robinson

diverted hundreds of thousands of dollars from the UAW Midwest CAP through the

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acquisition of unsubstantiated and unauthorized UAW Midwest CAP checks.
While an officer of the UAW, UAW Official E embezzled UAW funds in
conjunction with the scheme by Edward N. Robinson to divert funds from the
UAW Midwest CAP. To conceal the theft, Edward N. Robinson fraudulently
backstopped the payments with receipts for fake expenses or for expenses which
had already been fully paid. Many of the receipts for expenses utilized by Edward
N. Robinson for the cash embezzlement portion of the conspiracy had already been
paid for by the United Auto Workers through the Master Account scheme detailed
above in order to fraudulently justify the reimbursement of Edward N. Robinson
with UAW Midwest CAP funds.

12. During the course of the conspiracy, Edward N. Robinson negotiated
hundreds of thousands of dollars in fraudulent, unsubstantiated, or unauthorized
checks from the UAW Midwest CAP. Edward N. Robinson negotiated these
checks into cash. After Edward N. Robinson obtained the cash generated from the
| scheme, he delivered cash proceeds to Gary Jones, UAW Official E, UAW Official
_C, and other co-conspirators.

13. During the course of the conspiracy, portions of the hundreds of
thousands of dollars in cash proceeds from the UAW Midwest CAP portion of the

conspiracy were used to pay for personal expenses of Edward N. Robinson, Vance

 
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Pearson, Gary Jones, Union Official B, Union Official C, Union Official D, and
Union Official E.

14. During the course of the conspiracy, Gary Jones knowingly accepted at
least $60,000 in cash proceeds from Edward N. Robinson from the embezzlement
of the UAW Midwest CAP, including $15,000 improperly taken from the UAW
Labor Employment Training Corporation, which is a separate legal entity from the
UAW Midwest CAP.

15. As part of the scheme, Gary Jones signed and verified vouchers relating
to UAW Region 5 conferences submitted for payment to VAW headquarters, which |
he knew contained false or incomplete information in order to conceal the
embezzlement of UAW funds.

16. UAW Official B directed Gary Jones and Vance Pearson to use UAW |
funds to provide UAW Official B with cigars, cases of wine, and bottles of Crown
Royal XR premium liquor. Gary Jones and Vance Pearson used UAW funds to

‘purchase and then ship cases of wine and boxes of cigars to UAW Official B’s ©
personal residence and his office in Detroit.

17. UAW Official B directed Gary Jones and Vance Pearson to use VAW

- funds to provide UAW Official B with a three bedroom villa in Palm Springs,
California for the personal use of UAW Official B for months at a time from 2015

through 2018. This was done even though Gary Jones knew that UAW Official B

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had no legitimate union business purpose for being in Palm Springs for such
extended periods of time. On at least one occasion, UAW Official B directed Gary
Jones to provide a villa in Palm-Springs for a family vacation during the Christmas
holidays for UAW Official B, unrelated to UAW business.

18. During the course of the conspiracy, UAW Official B directed Gary
Jones and Vance Pearson to use UAW monies, including monies from UAW
regional activity funds, to pay for personal expenditures in Palm Springs and
Coronado, California that benefited UAW Official B and other UAW officials,
including for the purchase of large quantities of cigars, cigar paraphernalia,
humidors, rounds of golf, villas, liquor, and merchandise at golf club pro shops.

19. During the conspiracy, and at the request of UAW Official B, Gary
Jones directed that UAW funds be used to pay for expensive liquor for UAW
Official B’s spouse, who was not a UAW member.

20. During the conspiracy, UAW Official B directed Gary Jones and Vance
Pearson to provide housing, entertainment, and cigars in Palm Springs for two
retired friends of UAW Official B even though they had no legitimate, union
business role in Palm Springs.

21. As part of the conspiracy, Gary Jones promised to use UAW funds in the
future to take care of a relative of Edward N. Robinson, so that Robinson would

maintain the secrecy of the conspiracy.

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22. Of the more than $1 million in UAW funds embezzled as part of the
conspiracy, Gary Jones only personally benefitted from a portion of this amount,

~ with other high-level UAW officials enjoying the benefit of the majority of the
proceeds of the embezzlement.
Overt Acts

In furtherance of the conspiracy, and to effect the objects thereof, the
defendant and his co-conspirators committed and caused to be committed the .
following overt acts, among others, in the Eastern District of Michigan, and
elsewhere:

23. In or about January 2014, Gary Jones directed UAW Official C and
another UAW official to convince hotel accounting employees in Palm Springs,
California, at the Desert Princess Hotel, to conceal tens of thousands of dollars in
personal expenditures, which had no legitimate union business purpose, within the
legitimate costs of the January 2014 UAW Region 5 conference. The expenses |
were concealed so that the UAW headquarters, union members, and federal
authorities would not be aware of the embezzlement conspiracy.

24. In or about January 2015, Gary Jones directed UAW Official C to
convince hotel accounting employees in Palm Springs, California, at the
Renaissance Palm Springs Hotel, to conceal tens of thousands of dollars in personal

expenditures, which had no legitimate union business purpose, within the legitimate

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costs of the January 2015 UAW Region 5 conference. The expenses were
concealed so that the UAW headquarters, union members, and federal authorities
would not be aware of the embezzlement conspiracy.

25. In or about June 2016, Vance Pearson and Gary Jones submitted voucher

- requests to UAW headquarters in connection with a UAW conference in California,
A UAW accounting official challenged the propriety of an expense of $19,041.33
for “outside vendors” in one of the requests. On or about June 8, 2016, in an
interstate e-mail message, at the direction of Gary Jones, Vance Pearson falsely
told the UAW accounting official that the $19,041.33 expense had been for
“meals.” In truth and in fact, however, the $19,041.33 expense included $5,670.00
for golf green fees, $375.00 for tips for caddies, and $10,087.92 for golf clothing,
pants, shoes, hats, gloves, shorts, jackets, golf balls, sunglasses, and other
merchandise that had been purchased by nine UAW officials, including Gary Jones
and Vance Pearson.

26. In or about 2016, Gary Jones, UAW Official B, UAW Official D,
Edward N. Robinson, and Vance Pearson received sets of custom-fit Titleist golf
clubs through the Club at Porto Cima in Sunrise Beach, Missouri, at the cost of
thousands of dollars. The conspirators used UAW funds to pay for the golf clubs,

but they fraudulently concealed the use of UAW money for the purchase of the golf

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clubs by hiding the expenditures within the costs of a UAW Region 5 conference
held in September 2016 in Lake of the Ozark, Missouri.

27. In or about December 2015, GARY JONES ordered $13,046.91 in cigars
from the Gary’s Sales company located in Parker, Arizona. The order by GARY
JONES included 12 boxes of Ashton Double Magnum cigars at $268.00 per box
(totaling $3,216) and 12 boxes of Ashton Monarch Tubos cigars at $274.50 a box
(totaling $3,294). GARY JONES ordered these cigars at the request of UAW
Official B and, in large part, for the use of UAW Official B. The cost of the cigars
was concealed within the expenses of a UAW Region 5 conference, and the UAW
headquarters in Detroit that paid for the conference was never told that the
purported expenses of the conference included over $13,000 in cigars.

28. Other relevant conduct: While a UAW official, Gary Jones took over
$50,000 from the “Five Fellowship Fund” bank account, sometimes referred to asa
“flower fund,” and from the “Members in Solidarity” bank account, and used the
money for his own personal expenses unrelated to the ostensible purposes of the |
two funds.

* x x
Conspiracy to Defraud the United States
The following facts are a sufficient and accurate basis for defendant Gary

- Jones’ guilty plea to Count Two of the Second Superseding Information:

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29. Between 2014 and 2018, Gary Jones agreed and conspired with Edward
N. Robinson, Vance Pearson, and other individuals and entities, both known and
unknown, to impede, impair, obstruct, and defeat the United States Internal
Revenue Service from ascertaining, computing, assessing, and collecting taxes.

30. It was part of that conspiracy that Gary Jones, Edward N. Robinson,
Vance Pearson, and others concealed hundreds of thousands of dollars diverted
from the UAW, UAW Southwest CAP, and the VAW Midwest CAP

31. It was part of that conspiracy that Gary Jones, Edward N. Robinson, -
Vance Pearson, and others received compensation from the UAW, the UAW |
Midwest CAP, and UAW Southwest CAP, which compensation was falsely and
fraudulently omitted from the IRS Form 990 returns filed by the UAW, the VAW
Southwest CAP, and the UAW Midwest CAP.

32. Gary J ones, Edward N. Robinson, and others failed to report the
compensation they received from their scheme to divert funds from the UAW, the
UAW Southwest CAP, and the UAW Midwest CAP on their Form 1040 tax returns
filed with the Internal Revenue Service.

Overt Acts
In furtherance of the conspiracy, and to effect the objects thereof, the

defendant and his co-conspirators committed and caused to be committed the

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following overt acts, among others, in the Eastern District of Michigan, and
elsewhere:

33. Between January 2017 and December 2017, Gary Jones, Edward N. |
Robinson, Vance Pearson, and others prepared, approved, and submitted fraudulent
Payment Request Forms to the UAW’s international accounting staff requesting
that the UAW disburse funds to Renaissance Palm Springs Hotel, Loews Coronado
Bay Resort, Lodge of Four Seasons, and Thousand Hills Golf Resort. The
purported purpose of the requests was for legitimate UAW business expenses
related to training conferences. In reality, the forms fraudulently concealed the true
purpose of the disbursements, which was to divert UAW funds for the personal
benefit of high-level UAW officials. These fraudulent submissions caused UAW
accounting personnel to make false accounting entries in the UAW’s books and
records, which were relied upon to generate financial statements and an IRS Form
990.

34. These same fraudulent submissions that caused UAW accounting
personnel to make false accounting entries in the UAW’s books and records and to
create false financial statements, were also relied upon to generate and file LM
reports with the U.S. Department of Labor.

35. Between J anuary 2017 and December 2017, Gary Jones, Edward N. |

Robinson, Vance Pearson, and others facilitated the transfer of $5 39,608 in funds

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from the UAW, the UAW Midwest CAP, and the UAW Southwest CAP to the
following resorts:

¢ ~ $200,000 to the Renaissance Palm Springs Hotel

. $161,941 to the Lodge of Four Seasons

. $107,447 to the Loews Coronado Bay Resort

° $70,220 to Thousand Hills Golf Resort

36. Between January 2017 and December 2017, Gary Jones, Edward N.
Robinson, Vance Pearson, and others diverted $290,852 in UAW funds held on
deposit at the aforementioned resorts for the personal benefit of themselves and
other high-level UAW officials. The diverted funds were spent on the following:

° $129,336 for luxury condominiums and villas

° $46,588 for lavish restaurants

° $80,904 for golf greens fees and merchandise purchases

. $15,274 for cigars and related paraphernalia

° $18,750 for spa services, clothing, musicals, amusement park tickets
and other purchases for the personal benefit of UAW officials.

37. On or about November 5, 2018, a UAW official filed a 2017 IRS Form.
990 on behalf of the UAW. Unknown to the UAW official, the Form 990 contained
the following false statements due to the actions of the conspirators, which

prevented the IRS from making an accurate tax assessment with respect to funds

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diverted from the UAW for the personal benefit of Gary Jones, Edward N.
Robinson, UAW Official B, Vance Pearson, and others:

° Falsely reported the diverted income to Gary Jones, Edward N.
Robinson, UAW Official B, Vance Pearson, and others as a legitimate business
expense on the UAW’s Statement of Functional Expenses

° Failed to disclose $290,852 in reportable compensation to Gary Jones,
UAW Official B, Vance Pearson, and other key employees on Part VI —
Compensation of Officers, Directors, Trustees, Key Employees, etc. related to funds
diverted from the UAW. |

38. Between January 2017 and December 2017, Gary Jones, Edward N.
Robinson, UAW Official B, Vance Pearson, and others facilitated the transfer of
$133,611 in funds from the UAW Midwest CAP by issuing checks to Edward N.
Robinson or to cash. The checks were cashed and the proceeds were split between
Edward N. Robinson, Gary Jones, Vance Pearson, and others for their personal
benefit.

39. On or about February 24, 2018, Gary Jones signed and filed a 2017 IRS
Form 1040 Individual Tax Return, which return failed to report income he diverted
from the UAW, the UAW Southwest CAP, and the UAW Midwest CAP in 2017.

40. On or about March 18, 2018, Edward N. Robinson signed and filed a 2017

IRS Form 1040 Individual Tax Return, which return failed to report income he

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diverted from the UAW, the UAW Midwest CAP, and the UAW Southwest CAP in
2017.

C. Other Conduct

1. During at least the period 2014 through 2016, UAW Official B directed
that 100% of the UAW salaries and benefits of a large number of UAW officials
and employees, nominally assigned to joint training centers with the automobile
manufacturing companies, be paid for by these companies through the training
centers. UAW Official B and other senior UAW officials caused the companies to
pay these salaries and benefits for the UAW even though these UAW officials knew
that these UAW officials and employees “assigned” to the training centers spent
most of their work time performing tasks for the UAW, reported to the UAW, and
enforced the companies’ compliance with the collective bargaining agreements on
behalf of the union.

2. UAW Official B caused the automobile manufacturing companies to pay
hundreds of thousands of dollars for capital improvements, including the
installation of audio-visual equipment, to the UAW’s Black Lake conference
facility. In this way, UAW Official B illegally caused car company funds, intended
to support the three joint training centers, to be used for the benefit of the UAW.

3. UAW Official B and other senior UAW officials required the automobile

manufacturing companies to pay a 7% “administrative fee” on the amount of

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chargebacks paid by the companies to the UAW for the salaries and benefits of
UAW employees assigned to the three joint training centers. UAW Official B and
other senior UAW officials caused the fee to be charged in order to benefit the
UAW with funds from the companies even though the fee had no legitimate
justification relating to the administrative costs associated with the chargebacks.
4. Because Gary Jones provided the information in this subsection to the
United States pursuant to a proffer agreement with the United States, the patties
agree that it should not be included in determining the defendant’s guideline
calculations under U.S.S.G. §1B1.8(a).
II. Sentencing Guidelines
A. Standard of Proof
The parties agree that the Court will determine all sentencing factors by a
preponderance of the evidence. |
B. Agreed Guideline Range
The parties agree on all sentencing factors, which factors are set forth on the
attached sentencing guideline worksheets.
The parties agree that the defendant’s advisory sentencing guideline range is
46-57 months. Ifthe Court finds:
1. that defendant’s criminal history category is higher than reflected

on the attached worksheets, or

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2. that the offense level should be higher because, after pleading
guilty, defendant made any false statement to or withheld
information from his probation officer; otherwise demonstrated a
lack of acceptance of responsibility for his offenses; or obstructed
justice or committed any crime,
and if any such finding results in a higher guideline range higher, the higher
guideline range becomes the agreed advisory sentencing guideline range.
Ill. Sentence
The Court will impose a sentence pursuant to 18 U.S.C. § 3553, and in doing
so must consider the sentencing guideline range.
A. Imprisonment
Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), the sentence of
imprisonment in this case may not exceed the top of the agreed guideline range.
B. Supervised Release
A term of supervised release, if imposed, follows the term of imprisonment.
There is no agreement on supervised release. In other words, the Court may impose
any term of supervised release up to the statutory maximum term, which in this case
is not more than three years. The agreement concerning imprisonment described
above in Paragraph 3A does not apply to any term of imprisonment that results

from any later revocation of supervised release.

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C. Special Assessment

Defendant will pay a special assessment of $200.

D. Fine

There is no agreement as to fines.

E. Restitution

As to Count One, the Court shall order restitution to every identifiable victim
of the defendant’s offense.

As to Count Two, pursuant to 18 U.S.C. § 3663, the parties agree that

“restitution payable to the U.S. Department of the Treasury shall be imposed in this
matter in the amount of not less than $42,000, which figure represents additional
federal income taxes due and owing to the Internal Revenue Service by defendant
Gary Jones for tax years 2012 through 2018. The restitution amount of $42,000
may be increased by any interest and assessable penalties due and owing as
calculated by the U.S. Probation department.

As part of this agreement, Gary Jones agrees that the $32,377 in cash seized
by the FBI on August 28, 2019 from his residence shall be deposited with the
United States District Court Clerk for the Eastern District of Michigan for |
application against the restitution imposed in this case regarding Count Two. Gary

Jones agrees to execute an Order Directing the Deposit of Funds With the Clerk of

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the Court and Restraining Distribution contemporaneously with the signing of this |
plea agreement.

The defendant agrees that restitution is due and payable immediately after the
judgment is entered and is subject to immediate enforcement, in full, by the United
States. 18 U.S.C. §§ 3612(c) and 3613. Ifthe Court imposes a schedule of
payments, the defendant agrees that the schedule of payments is a schedule of the
minimum payment due, and that the payment schedule does not prohibit or limit the
methods by which the United States may immediately enforce the judgment in full.

F. Preparation of Tax Forms and Calculation and —
Payment of Taxes Due and Owing

(i) Not later than 14 days from entry of his guilty plea, defendant Gary
Jones will provide the IRS Examination Division with a true and accurate IRS
Form 4549 and a true and accurate IRS Form 870 for the years 2012 through 2018
inclusive by delivering a signed copies of such documents to: IRS-CI Special Agent
Michael Petroske, 985 Michigan Avenue, Room 251, Detroit, Michigan 48226.

(ii) Defendant Gary Jones shall further cooperate fully and in good faith
with the Internal Revenue Service in determining his correct tax liability, including,
any assessable penalties and applicable interest owed thereon, and shall make
satisfactory arrangements with the Internal Revenue Service for payment of any

unpaid taxes, penalties, and interest.

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(iti) Defendant Gary Jones agrees that he will not seek, request or file any
claim for any refunds of any taxes, penalties or interest for the tax years 2012
through 2018, inclusive.

(iv) Nothing in this Agreement shall limit the Internal Revenue Service in
its collection of any taxes, penalties or interest due from defendant Gary Jones.

G. Forfeiture

As part of this Rule 11 plea agreement, pursuant to 18 U.S.C. § 981(a)(1)(C)
and 28 U.S.C. § 2461(c), the defendant agrees to forfeit his interest in any property,

real or personal, constituting or derived from any proceeds traceable to a violation
of 18 U.S.C. §§ 371 and 1952(a)(3), and 29 U.S.C. § 501(c), including the -
following:

1) approximately $81,000 from the “flower fund,” also known as the 5
Fellowship Fund, of the defendant from the following bank account controlled by
the defendant - UAW Federal Credit Union Account No. XXXXXX0940;

2) approximately $38,000 from the defendant’s “Members in Solidarity”
account from the following bank account controlled by defendant - Enterprise Bank
and Trust Account No. KXXXXXX8102; and

3) one set of Titleist golf clubs seized from the defendant’s residence in

Canton, Michigan on August 28, 2019.

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Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20 PagelD.302 Page 25 of 45

All of the above-referenced assets, are hereinafter referred to as “Subject
Property.” The defendant acknowledges that he has agreed to forfeit the Subject
Property to the United States under 18 U.S.C. § 981(ay(1X(C) and 28 U.S.C. § 2461
as direct on indirect proceeds of the defendant’s violations of 18 U.S.C. §§ 371 and
1952(a)(3), and 29 U.S.C. § 501(c) as alleged in Count One of the Second |
Superseding Information.

Following entry of this Rule 11 Plea Agreement, the defendant agrees to the
entry of one or more orders of forfeiture of his interests in the Subject Property by
stipulation and/or application by the United States at, or any time before, his
sentencing in this case.

As part of his agreement, the defendant agrees not to contest the forfeiture of |
the Subject Property in any forfeiture proceeding. To the extent a third party that
the defendant controls has an interest in any of the Subject Property, the defendant
agrees to abandon those interests and/or to assist in obtaining release(s) of those
interests. The defendant further agrees that he will not assist any third party assert a
claim to any of the Subject Property in any forfeiture proceeding, that he will testify
truthfully in any forfeiture proceeding involving any of the Subject Property, and
that he will take whatever steps are necessary to deliver clear title to each item of

Subject Property to the United States.

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N

The defendant agrees that the forfeiture of any property consistent with this
agreement shall survive the defendant, notwithstanding any abatement of the
underlying criminal conviction after execution of this agreement.

In entering into this agreement with respect to forfeiture, the defendant
knowingly, voluntarily, and intelligently waives any challenge to the above-
described forfeiture based upon the Excessive Fines Clause of the Eighth
Amendment to the United States Constitution.

The defendant also waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a) regarding notice of forfeiture in the charging instrument,
pronouncement of forfeiture at sentencing, and incorporation of forfeiture in the
judgment and waives any right he may have to request a jury determine the
forfeiture of his interests in the Subject Property under Rule 32.2(b)(5) of the
Federal Rules of Criminal Procedure..

The defendant acknowledges that he understands that the forfeiture of assets
is part of the sentence that may be imposed in this case and waives his right to
challenge any failure by the court to advise him of this, pursuant to Rule
11(b)(1)(J), or otherwise, at the time his guilty plea is accepted.

The defendant agrees to unconditionally release and forever discharge the
United States of America, the United States Department of Justice, the EBL their

agents, officers, employees, past and present, and all other persons, including but

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not limited to any individual local law enforcement officers or departments or
agencies assisting in any manner in the events and circumstances giving rise to the -
seizures described herein, from any and all actions, causes of action, suits,
proceedings, debts, dues, contracts, judgments, damages, claims, and/or demands
whatsoever in law or equity which the defendant his assigns, agents, officers,
employees, successors, and/or heirs had, now have, or may have in connection with
the seizure and detention of the seized funds.
IV. Cooperation Agreement

The written cooperation agreement between defendant Gary Jones and the
government, which is dated , 2020, is part of this plea agreement. The
government agrees to bring no additional criminal charges against defendant Gary
Jones arising out of his involvement in the offenses charged in the Information, or
for additional criminal conduct disclosed under the terms of the , 2020
cooperation agreement, unless the defendant withdraws his plea or breaches that
cooperation agreement.
V. Use of Withdrawn Guilty Plea

If the Court allows defendant to withdraw his guilty plea for a “fair and just
reason” pursuant to Fed. R. Crim. P. 11(d)(2)(B), defendant Gary Jones waives his

_ rights under Fed. R. Evid. 410, and the government may use his guilty plea, any

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Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20 PagelD.305 Page 28 of 45

statement made under oath at the change-of-plea hearing, and the factual basis
statement in this plea agreement, against him in any proceeding.
VI. Defendant’s Right to Withdraw from this Agreement
Defendant Gary Jones may withdraw from this agreement, and may
withdraw his guilty plea, if the Court decides to impose a sentence higher than 57
months. This is the only reason for which defendant may withdraw from this —
agreement. The Court shall advise defendant that if he does not withdraw his guilty
plea under this circumstance, the Court may impose a sentence greater than 46
months.
VII. Appeal Waiver
Defendant Gary Jones waives any right he may have to appeal his
conviction on any grounds. If the defendant’s sentence of imprisonment does not
exceed 57 months, the defendant also waives any right he may have to appeal his
sentence, including the fine and amount of restitution imposed, on any grounds.
Nothing in this waiver bars a timely claim of ineffective assistance of counsel
on appeal or by collateral relief under 28 ULS.C. § 2255.
VIII. Consequences of Withdrawal of Guilty Plea or Vacation of Conviction
If the defendant is allowed to withdraw his guilty plea or if any conviction
entered pursuant to this agreement is vacated, the Court shall, on the government’s

request, reinstate any charges that were dismissed as part of this agreement. If

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Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20 PagelD.306 Page 29 of 45

additional charges are filed against defendant within six months after the date the |
order vacating defendant’s conviction or allowing his to withdraw his guilty plea
becomes final, which charges relate directly or indirectly to the conduct underlying
the guilty plea or to any conduct reflected in the attached worksheets, defendant
waives his right to challenge the additional charges on the ground that they were not
filed in a timely manner, including any claim that they were filed after the
_ limitations period expired. —

IX. Parties to Plea Agreement

Unless otherwise indicated, this agreement does not bind any government
gency except the United States Attorney’s Office for the Eastern District of
Michigan.
X. Scope of Plea Agreement

This agreement, which includes all documents that it explicitly incorporates,
is the complete agreement between the parties. This agreement supersedes all other
promises, representations, understandings and agreements between the parties
concerning the subject matter of this plea agreement that were made at any time
before the guilty plea is entered in court. Thus, no oral or written promises made by
the government to defendant or to the attorney for the defendant at any time before
defendant pleads guilty are binding except to the extent they have been explicitly

incorporated into this agreement.

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Notwithstanding the previous paragraph, if defendant has entered into a
written proffer agreement or a written cooperation agreement with the government,
this plea agreement does not supersede or abrogate the terms of any such prior
written agreement.

This agreement also does not prevent any civil or administrative actions

against defendant, or any forfeiture claim against any property, by the United States
or any other party.
| XI. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in the Office
of the United States Attorney by 5:00 P.M. on February 28, 2020. The government
reserves the right to modify or revoke this offer at any time before defendant pleads
guilty.

Matthew Schneider
United States Attorney

Ava

David A. Gardey _ Steven Cares |
Assistant United States Attorney Assistant United States Attorney
Chief, Public Corruption Unit

 

 

Date: 2-24-20 20

-30-

 
 

Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20 PagelD.308 Page 31 of 45

 

By signing below, defendant acknowledges that he has read (or has been
read) this entire document, understands it, and agrees to its terms. He also
acknowledges that he is satisfied with his attorney’s advice and representation.
Defendant agrees that he has had a full and complete opportunity to confer with his
~~ and has had all of his questions answered by his lawyers.

J Nag boro

<< Bruce >Maffeo > Gary Jones

Attorney for re ndatt Defendant

Date: + %4+ 2090 Date: Zhou] Lote
-31-

 

 
Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20 PagelD.309 Page 32 of 45

By signing below, defendant acknowledges that he has read (or has been
read) this entire document, understands it, and agrees to its terms. He also
acknowledges that he is satisfied with his attorney’s advice and representation.
Defendant agrees that he has had.a full and complete opportunity to confer with his
lawyers, and has had all of his questions answered by his lawyers.

 

 

J. Bruce Maffeo . Gary Jones
Attorney for Defendant Defendant
Date: | Date:

-31-

 
 

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Defendant: |Gary Jones Count: 1
Docket No.: - Statute(s): [18 USC 371 (29 USC 501(c))

 

 

 

 

 

 

WORKSHEET A (Offense Levels)

Complete one Worksheet A for each count of conviction (taking into account relevant conduct
and treating each stipulated offense as a separate count of conviction) before applying the
multiple-count rules in U.S.S.G. ch. 3, pt. D. However, in any case involving multiple counts
of conviction, if the counts of conviction are all “closely related” to each other within the
meaning of U.S.S.G. § 3D1.2(d), complete only a single Worksheet A.

1. BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.S.G. ch. 2)

 

Guideline Section Description — | Levels
2B1.1(a)(2) Embezzlement of union funds by a union officer —
2B1.1(b)(1) Loss amount > $550,000 but s $1,500,000

 

2B1.1(b)(10) Sophisticated means

 

 

 

2. ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

 

Guideline Section | Description - Levels
3B1.3 - Abuse of position of trust
3Bi.1 ; Leader/Organizer

 

 

 

 

 
 

Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20 PagelD.311 Page 34 of 45

 

Defendant: |Gary Jones -Count: 1
Docket No.: . Statute(s): |18 USC 371 (29 USC 501(c))

 

 

 

 

 

3. ADJUSTED OFFENSE LEVEL

 

Enter the sum of the offense levels entered in Items 1 and 2. If this Worksheet A does
not cover every count of conviction (taking into account relevant conduct and treating
each stipulated offense as a separate count of conviction), complete one or more
additional Worksheets A and a single Worksheet B.

26

 

 

 

HAR RCC a Ra a ofc ae a ak ak

 

 

If this is the only Worksheet A, check this box and skip Worksheet B.

 

If the defendant has no criminal history, check this box and skip Worksheet C. iV

 

 

 

A-2

 
Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20 PagelD.312 Page 35 of 45

 

Defendant: |Gary Jones

Count:

1

 

 

 

Docket No.:

 

Statute(s):

 

18 USC 371 (29 USC 501(c))

 

WORKSHEET B (Multiple Counts)

Instructions (U.S.S.G. ch. 3, pt. D):

e Group the counts of conviction into distinct Groups of Closely Related Counts. “AII counts

involving substantially the same harm shall be grouped together into a single Group.” (See

U.S.S.G. § 3D1.2.)

e Determine the offense level applicable to each Group. (See U.S.S.G. § 3D1.3.)

e Determine the combined offense level by assigning “units” to each Group as follows (see

US.S.G. § 3D1.4):

© assign 1 unit to the Group with the highest offense level,

° assign 1 unit to each additional Group that is equally serious as, or 1 to 4 levels less
serious than, the Group with the highest offense level,

° assign % unit to each Group that is 5 to 8 levels less serious than the Group with the
highest offense level,

° assign no units to each Group that is 9 or more levels less serious than the Group with

the highest offense level:

1. GROUPONE: COUNT(S) 1 & 2
ADJUSTED OFFENSE LEVEL

2. GROUP TWO: COUNT(S) ~
ADJUSTED OFFENSE LEVEL

3. GROUP THREE: COUNT(S)
ADJUSTED OFFENSE LEVEL

4. Group FOUR: COUNT(S)
ADJUSTED OFFENSE LEVEL

5. TOTAL UNITS

 

26

 

unit —

 

 

unit

 

 

 

unit

 

 

 

unit

 

 

 

 

 

 

 

 

 

 

units

 

 

 

 

 
 

Case 2:19-cr-20726-PDB-RSW_ ECF No. 42 filed 06/03/20 PagelD.313 Page 36 of 45

 

Defendant: |Gary Jones | Count: 1
Docket No.: Statute(s): |18 USC 371 (29 USC 501(c))

 

 

 

 

 

 

7, ADJUSTED OFFENSE LEVEL OF GROUP

6. INCREASE IN OFFENSE LEVEL
1 unit —> no increase 2 1/2 —3 units —> add 3 levels

 

11/2 units —>addIilevel 3 1/2—5 units —> add 4 levels 1
2 units —> add 2 levels > 5 levels —~> add 5 levels

 

 

 

 

26

 

 

WITH THE HIGHEST OFFENSE LEVEL

 

8. COMBINED ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items 6 and 7.

 

 
Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20 PagelD.314 Page 37 of 45

 

Defendant: (Gary Jones Count: 1

 

 

 

 

 

 

 

Docket No.: Statute(s): [18 USC 371 (29 USC 501(c))

WORKSHEET C (Criminal History)

Date of defendant’s commencement of the instant offense (taking into account relevant conduct

and stipulated offenses):

 

1. PRIOR SENTENCES

Prior Sentence of Imprisonment Exceeding 13 Months
(U.S.S.G. 8§ 4A1.1(a)):

Enter 3 points for each prior adult sentence of imprisonment exceeding one
year and one month that either (1) was imposed within 15 years of the
defendant's commencement of the instant offenses (taking into account relevant
conduct and stipulated offenses) or (2) resulted in the defendant’s confinement
during any part of that 15-year period. (See U.S.S.G. §§ 4A1.1(a), 4A1.2(d)(1),
(e)(1).)

Prior Sentence of Imprisonment of at Least 60 Days

(U.S.S.G. §§ 4A1.1(b)):

Enter 2 points for each prior sentence of imprisonment of at least 60 days not
counted under U.S.S.G. § 4A1.1(a) that either (1) resulted from an offense

committed after the defendant turned 18 and was imposed within 10 years of -

the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(b),
4A1.2(e)(2)) or (2) resulted from an offense committed before the defendant
turned 18 and resulted in the defendant’s confinement during any part of the 5-
year period preceding the defendant’s commencement of the instant offense
(see U.S.S.G. §§ 4A1.1(b), 4A1.2(d)(2)(A)).

Other Prior Sentences

(U.S.S.G. §§ 4AL. 1(c)):

Enter 1 point for each prior sentence not counted under U.S.S.G. § 4A1.1(a) or
(b) that either (1) resulted from an offense committed after the defendant turned
18 and was imposed within 10 years of the defendant’s commencement of the
instant offense (taking into account relevant conduct and stipulated offenses)
(see U.S.S.G. §§ 4A1.1(c), 4A1.2(e)(2)) or (2) resulted from an offense
committed before the defendant turned 18 and was imposed within 5 years of
the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see US.S.G. §§ 4A1.1(c), |
4A1.2(d)(2)(B)). NOTE: No more than 4 points may be added under this item.

C-1

3 POINTS

2 POINTS

1 POINT

 
Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20 PagelD.315 Page 38 of 45

 

 

 

 

 

 

 

 

Defendant: iGary Jones Count:  |1
Docket No.: ‘| Statute(s): [18 USC 371 (29 USC 501(c))
Date of Status* Offense Sentence Release — Points
Imposition Date**

 

 

 

 

 

 

 

 

* Tf the defendant committed the offense before turning 18, indicate whether he or she was
sentenced as a juvenile (J) or as an adult (A).

** A release date is required in only two situations: (1) when a sentence covered under
U.S.S.G. § 4A1.1(a) was imposed more than 15 years before the defendant’s commencement of
the instant offense (taking, into account relevant conduct and stipulated offenses) but resulted in
his or her confinement during any part of that 15-year period; or (2) when a sentence counted
under U.S.S.G. § 4A1.1(b) was imposed for an offense committed before the defendant turned
18 but resulted in his or her confinement during any part of the 5-year period preceding his or
her commencement of the instant offense (taking into account relevant conduct and stipulated
offenses).

C-2

 

 
Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20. PagelD.316 Page 39 of 45

 

Defendant: |Gary Jones Count: 1

 

 

 

 

Docket No.: Statute(s): |18 USC 371 (29 USC 501(c))

 

 

2. COMMISSION OF INSTANT OFFENSE WHILE UNDER PRIOR SENTENCE
(U.S.S.G. § 4A1.1(d))

 

 

Enter 2 points if the defendant committed any part of the instant offense
(taking into account relevant conduct and stipulated offenses) while under any
criminal justice sentence having a custodial or supervisory component,

 

 

 

including probation, parole, supervised release, imprisonment, work release,
and escape status. (See U.S.S.G. §§ 4A1.1(d), 4A1.2(m), (n).) List the type of
control and identify the sentence from which it resulted.

 

3. PRIOR SENTENCE RESULTING FROM CRIME OF VIOLENCE (U.S.S.G. § 4A1.1(e))

 

Enter 1 point for each prior sentence resulting from a conviction for a crime of
violence that did not receive any points under U.S.S.G. § 4A1.1(a), (b), or (c)
because such sentence was considered related to another sentence resulting .

 

 

 

from a conviction for a crime of violence. But enter no points where the
sentences ate considered related because the offenses occurred on the same
occasion. (See U.S.S.G. §§ 4A1.1(e), 4A1.2(p).) Identify the crimes of
violence and briefly explain why the cases are considered related. NOTE: No
more than 3 points may be added under this item.

 

4. TOTAL CRIMINAL HISTORY POINTS . . 0
Enter the sum of the criminal history points entered in Items 1-4. a

 

 

 

5. CRIMINAL HISTORY CATEGORY

 

 

 

 

 

 

Total Criminal History Points Criminal History Category
0-1 I .
2-3 II
4-6 III
7-9 . IV
10-12 Vv . 1
>13 VI

C-3

 
Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20 PagelD.317 Page 40 of 45

 

Defendant: Gary Jones - | Count: 1

 

 

 

 

 

Docket No.: . Statute(s): |18 USC 371 (29 USC 501(c))

 

WORKSHEET D (Guideline Range)

1. (COMBINED) ADJUSTED OFFENSE LEVEL

 

 

Enter the adjusted offense level entered in Item 3 of Worksheet A or the |
combined adjusted offense level entered in item 8 of Worksheet B. 26

 

2. ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.S.G. § 3E1.1) —

 

3. ‘TOTAL OFFENSE LEVEL

 

Enter the difference between Items 1 and 2. . . 23

 

4, CRIMINAL HISTORY CATEGORY

 

Enter “I” if the defendant has no criminal history. Otherwise, enter the
criminal history category entered in Item 6 of Worksheet C. |

 

 

 

5. CAREER OFFENDER/CRIMINAL LIVELIHOOD/ARMED CAREER
CRIMINAL/DANGEROUS SEX OFFENDER (U.S.S.G. ch. 4, pt. B)

a. Total Offense Level: If the career offender provision (U.S.S. G. §

4B1.1), the criminal livelihood provision (U.S.S.G. § 4B1.3), the

 

armed career criminal provision (U.S.S.G. § 4B1.4), or the NA

 

 

 

dangerous sex offender provision (U.S.S.G. § 4B1.5) results in a
total offense level higher than the total offense level entered in Item
3, enter the higher offense level total.

 

b. Criminal History Category: If the career offender provision
(U.S.S.G. § 4B1.1), the armed career criminal provision (U.S.S.G. NA

 

 

 

§ 4B1.4), or the dangerous sex offender provision (U.S.S.G.
§ 4B1.5) results in a criminal history category higher than the
criminal history category entered in Item 4, enter the higher
criminal history category.

 

6. GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. CH. 5, PT. A)
Enter the guideline range in the Sentencing Table (see U.S.S.G. ch. 5, pt. A) produced by | 46-57
the total offense level entered in Item 3 or 5.a and the criminal history category entered in

 

 

 

Ttem 4 or 5.b.
months —

D-1

 
Case 2:19-cr-20726-PDB-RSW ECF No. 42 filed 06/03/20 PagelD.318 Page 41 of 45

 

Defendant:

Gary Jones

Count:

1

 

 

Docket No.:

 

 

Statute(s):

 

18 USC 371 (29 USC 501(c))

 

7. STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE
If the maximum sentence authorized by statute is below, or a minimum
sentence required by statute is above, the guideline range entered in Item 6,

enter either the guideline range as restricted by statute or the sentence
required by statute. (See U.S.S.G. § 5G1.1.) If the sentence on any count of

 

 

conviction is required by statute to be consecutive to the sentence on any NA

other count of conviction, explain why.

D2

 

 

 

months

 
Case 2:19-cr-20726-PDB-RSW. ECF No. 42 filed 06/03/20 PagelD.319 Page 42 of 45

 

Defendant: |Gary Jones ~ Count: |

 

 

Docket No.: | Statute(s): |18 USC 371 (29 USC 501(c))

 

 

 

 

 

1.

 

 

 

 

 

 

 

 

 

 

 

 

2.

 

x

 

 

 

 

3.

WORKSHEET E (Authorized Guideline Sentences)

PROBATION
a. Imposition of a Term of Probation (U.S. S.G. § 5B1.1)

1. Probation is not authorized by the guidelines (minimum of guideline range > 10
months or statute of conviction is a Class A or a Class B felony). If this box is
checked, go to Item 2 (Split Sentence).

2. Probation is authorized by the guidelines (minimum of guideline range = zero
months).

3. Probation is authorized by the guidelines, provided the court imposes a condition or
combination of conditions requiring intermittent confinement, community
confinement, or home detention satisfying the minimum of the guideline range
(minimum of guideline range > 0 months but < 9 months).

b. Length of Term of Probation (U.S.S.G. § 5B1.2)
1. At least 1 year but not more than 5 years (total offense level > 6)
' 2. No more than 3 years (total offense level < 6).

c. Conditions of Probation (U.S.S.G. § 5B1.3)

SPLIT SENTENCE (U.S.S.G. § 5C1.1(C)(2), (D)(2))

a. A split sentence is not authorized (minimum of guideline range = 0 months or > 15
months).

b. A split sentence is authorized (minimum of guideline range > 0 months but < 12
months). The court may impose a sentence of imprisonment that includes a term of
supervised release with a condition that substitutes community confinement or home
detention for imprisonment, provided that at least one-half of the minimum of the
guideline range is satisfied by imprisonment (if the minimum of the guideline range is
10 or 12 months), or that at least one month is satisfied by imprisonment (if the
minimum of the guideline range is 1, 2, 3, 4, 6, 8, or 9 months). The authorized length
of the term of supervised release is set forth below in Item 4.b.

IMPRISONMENT (U.S.S.G. CH. 5, PT. C)
A term of imprisonment is authorized by the guidelines if it is within the applicable
guideline range (entered in Item 6 of Worksheet D). (See U.S.S.G. §:5C1.1.)

E-1

 
Case 2:19-cr-20726-PDB-RSW ECF No. 42. filed 06/03/20 PagelD.320 Page 43 of 45

 

Defendant:

Gary Jones Count: 1

 

 

Docket No.:

 

 

 

Statute(s);_|18 USC 371 (29 USC 501(c))

 

 

4. SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

a. Imposition of a Term of Supervised Release (U.S.S.G. § 5D1.1)

The court must impose a term of supervised release if it imposes a term of
imprisonment of more than one year, or if it is required to do so by statute. The court

may impose a term of supervised release if it imposes a term of imprisonment of one

year or less.
b. Length of Term of Supervised Release (U.S.S.G. § 5D1.2)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4. The statute of conviction requires a minimum term of supervised release of

1. Atleast 2 years but not more than 5 years, where the count of conviction is a Class

A or a Class B felony, i.e., an offense carrying a maximum term of imprisonment
> 25 years.

. At least 1 year but not more than 3 years, where the count of conviction is a Class

C or a Class D felony, i.e., an offense carrying a maximum term of imprisonment
> 5 years but < 25 years.

. 1 year, where the count of conviction is a Class E felony or a Class A

misdemeanor, i.e., an offense carrying a maximum term of imprisonment > 6
months but <5 years.

 

years.

c. Conditions of Supervised Release (U.S.S.G. § 5D1.3)

The court must impose certain conditions of supervised release and may impose other
conditions of supervised release.

5. RESTITUTION(U.S.S.G. § 5E1.1)

 

 

 

 

2.

 

 

- The court must order full restitution to the victim(s) of the offense(s) of conviction.
(See 18 U.S.C. §§ 3556, 3663A, 3664.) The court will determine who the victims
are and their restitution amounts.

The court must order full restitution to the victim(s) of the offense(s) of conviction.
(See 18 U.S.C. §§ 3556, 3663A, 3664) The parties agree that full restitution is

$

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Defendant: |Gary Jones Count: 1
Docket No.: Statute(s): [18 USC 371 (29 USC 501(c))
3. The parties agree that the court may order restitution to the victim(s) of the
- offense(s) of conviction in any amount up to and _ including
$ . (See 18 U.S.C. §§ 3663(a)(3), 3664.)
4. The parties agree that the court may also order restitution to persons other than the
victim(s) of the offense(s) of conviction in any amount up to and including
$ —. (See 18 U.S.C. §§ 3663(a)(1)(A), 3663A(a)(3), 3664.)
5. Restitution is not applicable.

6. FINE (U.S.S.G. § 5E1.2)

a.

| Fines for Individual Defendants

The court must impose a fine unless “the defendant establishes that he [or she] is
unable to pay and is not likely to become able to pay any fine.” (See U.S.S.G. §
5E1.2(a).) Generally, the fine authorized by the guidelines is limited to the range
established in the Fine Table. (See U.S.S.G. § 5E1.2(b).) However, there are
exceptions to this general rule. (See U.S.S.G. § 5E1.2(b), (c)(4).)

Fine Range from Fine Table (U.S.S.G. § 5E1.2(c)(3))

Minimum Fine Maximum Fine

$20,000 g $200,000

 
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Defendant: |Gary Jones Count: 1

 

 

 

 

 

 

Docket No.: _ Statute(s): 18 USC 371 (29 USC 501(c))

7. SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)

The court must impose a special assessment on every count of conviction. The special

assessments for individual defendants are:
= $100.00 for every count charging a felony ($400 for a corporation),
" $25.00 for every count charging a Class A misdemeanor ($125 for a corporation),

= $10.00 for every count charging a Class B misdemeanor ($50 for a corporation), and
» $5.00 for every count charging a Class C misdemeanor or an infraction ($25 for a
corporation).

The defendant must pay a special assessment or special assessments in the total amount of
$200

8. FORFEITURE (U.S.S.G. § 5E1.4)

 

 

 

Assets of the defendant will be — | Assets of the defendant will not be

x forfeited. | forfeited.

 

 

 

 

 

9. ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

 

 

10. UPWARD OR DOWNWARD DEPARTURE (U.S.S.G. ch. 5, pts. H & K)
List any applicable aggravating or mitigating circumstance that might support a term of
imprisonment above or below the applicable guideline range.

(Rev. April 2014)

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